                   So Ordered.

Dated: November 21st, 2019
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     10                           UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF WASHINGTON
     11

     12   In Re:                                             Lead Case No. 19-00478-FPC11

     13   COUNTRY MORNING FARMS, INC. and                    Jointly Administered
          COUNTRY MORNING FARMS CATTLE,
     14   LLC,                                               EX-PARTE ORDER FOR 2004
                                                             EXAMINATION OF GAYLE NOYES
     15                   Debtors/Debtors in Possession.

     16

     17            THIS MATTER having come on before the Court upon the motion of Bank of the West
     18   (“BOTW”) for an order for a 2004 examination of Gayle Noyes pursuant to Fed. R. Bankr. P.
     19
          2004 and 9016 (incorporating Fed. R. Civ. P. 45); and it appearing that good cause has been
     20
          shown, now therefore, it is hereby
     21
                   ORDERED that Gayle Noyes as Dairy Manager to debtor Country Morning Farms,
     22

     23   Inc., appear at the offices of Foster Garvey PC, 618 West Riverside Avenue, Suite 300,

     24   Spokane, WA 99201 on December 11, 2019 at 10:00 A.m., or at another time set by written

     25   agreement, to be examined under oath concerning the acts, conduct, property, liabilities and
     26

                                                                                FOSTER GARVEY PC
                                                                              1111 THIRD AVENUE, SUITE 3000
          EX-PARTE ORDER - 1                                                 SEATTLE, WASHINGTON 98101-3292
                                                                          PHONE (206) 447-4400 FAX (206) 447-9700



          FG:53552000.1
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 1   financial condition of the Debtor, and any other matter which may affect the Debtor's estate,
 2   including but not limited to the Debtor’s proposed Plan of Reorganization.
 3

 4
                                         ///END OF ORDER///
 5

 6
     Presented by:
 7
     FOSTER GARVEY PC
 8

 9   /s/ Deborah A. Crabbe
10   Deborah A. Crabbe, WSBA No. 22263
     Attorneys for Bank of the West
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                                                                            FOSTER GARVEY PC
                                                                          1111 THIRD AVENUE, SUITE 3000
     EX-PARTE ORDER - 2                                                  SEATTLE, WASHINGTON 98101-3292
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